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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: Oil Spill by the Oil Rig                       CIVIL ACTION
“DEEPWATER HORIZON” in the
Gulf of Mexico on April 20, 2010                      MDL NO.: 2179

                                                      SECTION “J”(1)

THIS DOCUMENT RELATES TO:                             Hon. Carl J. Barbier
11-58                                                 Mag. Judge Sally Shushan



                    ORDER CANCELLING AND RELEASING
              LETTER OF UNDERTAKING IN CIVIL ACTION NO. 11-58

       Considering the foregoing Ex Parte and Unopposed Motion to Cancel and Release Letter

of Undertaking in Civil Action No. 11-58, filed on behalf of Limitation Petitioners, Monica Ann,

L.L.C., as Owner, and JNB Operating, L.L.C. and Gulf Offshore Logistics, L.L.C., as

Managers/Operators and/or Owners Pro Hac Vice, of the M/V MONICA ANN;

       IT IS HEREBY ORDERED that the Motion is GRANTED and the original Letter of

Undertaking (Rec. Doc. No. 5, Civil Action No. 11-58) which was filed as security by Monica

Ann, L.L.C., JNB Operating, L.L.C. and Gulf Offshore Logistics, L.L.C. on behalf of the M/V

MONICA ANN in the amount of TWENTY-FOUR MILLION, FOUR HUNDRED SEVENTY-

TWO THOUSAND FIVE HUNDRED FIFTY AND NO/100 ($24,472,550.00) DOLLARS in

Civil Action No. 11-58, is hereby CANCELLED AND RELEASED, and the Clerk of Court is




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directed to return the original of this Letter of Undertaking to the enrolled counsel of record for

Monica Ann, L.L.C., JNB Operating, L.L.C. and Gulf Offshore Logistics, L.L.C., William J.

Riviere of Phelps Dunbar LLP, so that the original may be marked “Cancelled.”

       IT IS FURTHER ORDERED that the Underwriters and signators to the foregoing Letter

of Undertaking shall have no further obligation under said Letter of Undertaking.

       New Orleans, Louisiana, this ________ day of April, 2012.




                                                      United States District Court Judge




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